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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

 ORDER REGARDING MATTERS DISCUSSED AT THE AUGUST
  30, 2023 STATUS CONFERENCE AND SETTING DEADLINES
         FOR SEPTEMBER 2023 STATUS CONFERENCE
               AND DISCOVERY CONFERENCE

       The Court held a status conference regarding the pending Flint

 water litigation on August 30, 2023. The Court now orders as follows.

       The Court will hold its September 2023 Status Conference and

 Discovery Conference jointly on Wednesday September 27, 2023 at

 1:00 pm. Parties are to file proposed status conference agenda items by

 September 13, 2023. Per the Court’s protocol (ECF No. 2588),

 September 20, 2023 at 2:00 pm is the deadline for notifying the Court

 of a discovery dispute for the September 27, 2023 conference. The Court

 will issue an agenda by September 25, 2023.
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       IT IS SO ORDERED.

 Dated: August 30, 2023                    s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on August 30, 2023.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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